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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

K.M. SKELLY, INC.,

       Plaintiff/Counter Defendant,

v.

SEASIDE PARTNERS, LLC,

       Defendant/Counter Claimant.

--                                                                     Civ. No. 17-920 WJ/SCY

K.M. SKELLY, INC.,

       Third Party Plaintiff,

v.

SEASIDE PARTNERS, LLC,
ADVANCED CONCRETE DESIGN, INC.,
PLAZA BUILDERS, INC.,
SAN MORCOL MECHANICAL CONTRACTORS, INC.,

       Third Party Defendants.

                  ORDER REGARDING SETTLEMENT CONFERENCE

       On February 28, 2018, the Court issued an Order setting a settlement conference and

requiring the parties to exchange certain information in advance of the settlement conference.

(Doc. 42). The Court realizes that its Order was ambiguous with regard to information Third

Party Plaintiff K.M. Skelly, Inc. must exchange with the Third Party Defendants. The Court also

realizes that what damages, if any, Plaintiff K.M. Skelly, Inc. is seeking against the Third Party

Defendants might be entirely contingent upon whether the counter claims Counter-Claimant

Seaside Partners, LLC has filed against Counter-Defendant K.M. Skelly, Inc. are successful.

Nonetheless, so that the Third Party Defendants may adequately prepare for the settlement
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conference scheduled to take place on April 25, 2018, Third Party Plaintiff K.M. Skelly, Inc. is

hereby ordered to provide the respective Third Party Defendants notice of any damages it is

currently aware of for which it may seek compensation. Third Party Plaintiff K.M. Skelly, Inc.

must also provide a brief summary of its asserted bases for such damages. Third Party Plaintiff

K.M. Skelly, Inc. shall provide any correspondence responsive to this Order no later than April

20, 2018 and shall provide the Court with a copy of any such correspondence via email to

scyproposedtext@nmcourt.fed.us.

       IT IS SO ORDERED.




                                                   ____________________________________
                                                    UNITED STATES MAGISTRATE JUDGE
